                 Case 3:23-cv-01710-AMO Document 77 Filed 05/10/23 Page 1 of 3




1    Abby L. Dennis, DC Bar No. 994476
     Peter Richman, CA Bar # 149107
2    Ashley Masters, TX Bar # 24041412
     Abigail Wood, DC Bar # 242239
3
     Federal Trade Commission
4    600 Pennsylvania Avenue, NW
     Washington, DC 20580
5    Tel: (202) 326-2381
6    adennis@ftc.gov; prichman@ftc.gov;
     amasters@ftc.gov; awood@ftc.gov
7
     [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]
8
                                    UNITED STATES DISTRICT COURT
9                                 NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11   FEDERAL TRADE COMMISSION,
12                   Plaintiff,
                                                        Case No. 3:23-cv-01710-AMO
13          v.
14   INTERCONTINENTAL                                   NOTICE OF APPEARANCE OF LAURA
     EXCHANGE, INC.                                     ANTONINI AS COUNSEL FOR
15
     and                                                PLAINTIFF FEDERAL TRADE
16                                                      COMMISSION
     BLACK KNIGHT, INC.,
17
     Defendants.
18

19

20

21

22

23

24

25

26

27
     NOTICE OF APPEARANCE
28   CASE NO. 3:23-cv-01710-AMO
                                                    1
              Case 3:23-cv-01710-AMO Document 77 Filed 05/10/23 Page 2 of 3




1                   TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

2           PLEASE TAKE NOTICE that I will appear as counsel of record on behalf of Plaintiff

3    Federal Trade Commission in the above-captioned matter. I am authorized to receive service of

4    all pleadings, notices, orders and other papers regarding this action on behalf of the Federal

5    Trade Commission. My contact information is:

6           Laura Antonini
7           Federal Trade Commission
            600 Pennsylvania Ave. NW
8           Washington, DC 20580
            Telephone: (202) 326-2701
9           Fax: (202) 326-3383
            Email: lantonini@ftc.gov
10

11          I am admitted to practice in and am in good standing with the bar of the State of
12   California. I am authorized to appear before this court on behalf of the Federal Trade
13   Commission pursuant to Local Rule 11-2.
14

15   DATED: May 10, 2023                                   /s/ Laura Antonini
16                                                         Laura Antonini

17                                                         Abby L. Dennis
                                                           Peter Richman
18                                                         Ashley Masters
                                                           Abigail Wood
19                                                         Daniel Aldrich
                                                           Catherine Bill
20                                                         Caitlin Cipicchio
21                                                         Steven Couper
                                                           Janet Kim
22                                                         Christopher Lamar
                                                           Lauren Sillman
23                                                         Neal Perlman
                                                           Nicolas Stebinger
24                                                         Nina Thanawala
                                                           Taylor Weaver
25
                                                           Federal Trade Commission
26
                                                           600 Pennsylvania Avenue, NW
27                                                         Washington, DC 20580
     NOTICE OF APPEARANCE
28   CASE NO. 3:23-cv-01710-AMO
                                                      2
            Case 3:23-cv-01710-AMO Document 77 Filed 05/10/23 Page 3 of 3




                                              Tel: (202) 326-2381
1
                                              Counsel for Plaintiff Federal Trade
2
                                              Commission
3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     NOTICE OF APPEARANCE
28   CASE NO. 3:23-cv-01710-AMO
                                          3
